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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

  Civil Action No. 15-349

  SAFE STREETS ALLIANCE, PHILLIS WINDY HOPE REILLY, and MICHAEL P. REILLY,

                       Plaintiffs,

                v.

  ALTERNATIVE HOLISTIC HEALING, LLC, d/b/a Rocky Mountain Organic; JOSEPH R.
  LICATA; JASON M. LICATA; 6480 PICKNEY, LLC; PARKER WALTON; CAMP FEEL
  GOOD, LLC; ROGER GUZMAN; BLACKHAWK DEVELOPMENT CORPORATION;
  WASHINGTON INTERNATIONAL INSURANCE CO.; DAVID L. PATCH; PATCH
  CONSTRUCTION, LLC; JOHN DOE 1; JOHN W. HICKENLOOPER, JR., in his official
  capacity as Governor of Colorado; BARBARA J. BROHL, in her official capacity as Executive
  Director of the Colorado Department of Revenue; W. LEWIS KOSKI, in his official capacity as
  Director of the Colorado Marijuana Enforcement Division; PUEBLO COUNTY
  COMMISSION; and PUEBLO COUNTY LIQUOR & MARIJUANA LICENSING BOARD,

                       Defendants.

  ______________________________________________________________________________

                                         COMPLAINT
  ______________________________________________________________________________
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         Plaintiffs the Safe Streets Alliance (“Safe Streets”), Phillis Windy Hope Reilly, and

  Michael P. Reilly file this suit to vindicate the federal laws prohibiting the cultivation and sale of

  recreational marijuana and their rights under the Racketeer Influenced and Corrupt Organizations

  Act (“RICO”). The Reillys are Colorado property owners who have been injured by a

  conspiracy to cultivate recreational marijuana near their land, and they are members of Safe

  Streets. Plaintiffs seek redress under RICO, which requires those who engage in racketeering

  activity—including the commercial production of marijuana—to pay those they injure treble

  damages, costs, and attorneys’ fees. Plaintiffs also seek an injunction under RICO directing the

  marijuana operations affecting their land to stop violating the federal drug laws. In addition to

  their RICO claims, Plaintiffs are also suing the state and local officials who are facilitating and

  encouraging Colorado’s recreational marijuana trade, including the racketeering activity that is

  injuring their property, through a licensing regime that purports to authorize federal drug crimes.

  Because state and local government actions that promote the marijuana industry directly conflict

  with the federal Controlled Substances Act (“CSA”), those actions are preempted under the

  Supremacy Clause of the United States Constitution and must be set aside.

                                                I.
                                          INTRODUCTION

         1.      It is a bedrock principle of the United States Constitution that federal law is the

  supreme law of the land. State laws that are flatly inconsistent with constitutionally authorized

  federal law have no force or effect. On the issue of recreational marijuana, federal law is clear: it

  is a felony under the Controlled Substances Act of 1970 (“CSA”) to deal in marijuana. Despite

  the express federal prohibition on marijuana, Colorado and many of its local jurisdictions have

  enacted laws, ordinances, and regulations designed to promote the growth of a billion dollar

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  commercial marijuana industry. Yet notwithstanding that recreational marijuana is now “legal”

  in Colorado, the drug’s cultivation, sale, and possession remain serious federal offenses in

  Colorado, just as they are everywhere else in the United States. Indeed, those associated with

  Colorado’s largest-scale marijuana producers risk being sent to federal prison for the rest of their

  lives. The people of Colorado are free to advocate for a change in this federal criminal

  prohibition, but they must do so through their elected representatives in Congress. Under our

  federal system, Congress alone can authorize revision of federal laws prohibiting the commercial

  trade in recreational marijuana.

         2.      Of course, in recent years the United States Department of Justice has largely

  declined to bring prosecutions under the federal marijuana laws, prompting hundreds of millions

  of investment dollars and thousands of new customers to flow into Colorado’s commercial

  marijuana industry. But the Justice Department’s current policy of non-enforcement does not

  strike a single word from the U.S. Code or deprive private individuals of their judicially-

  enforceable rights under federal law. The Department of Justice can no more amend a federal

  statute than can the State of Colorado, and marijuana remains just as illegal under federal law

  today as it was when Congress passed the Controlled Substances Act in 1970.

         3.      Marijuana businesses make bad neighbors. They emit pungent, foul odors, attract

  undesirable visitors, increase criminal activity, increase traffic, and drive down property values.

  Safe Streets is a nonprofit organization devoted to reducing crime and illegal drug dealing, and

  the Reillys are property owners who have suffered injuries caused by the operations of a nearby

  marijuana business. Together, they are filing this suit to vindicate their federal rights under

  RICO, 18 U.S.C. §§ 1961 et seq., the CSA, 21 U.S.C. §§ 801 et seq., and the Supremacy Clause.


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         4.      Dealing in marijuana is racketeering activity under RICO, and those who engage

  in a pattern of racketeering activity through a corporation or other enterprise are liable for three

  times the economic harm they cause plus costs and attorneys’ fees. Those who conspire with

  racketeers by agreeing to assist them are likewise liable. RICO also gives federal courts the

  power to order racketeering enterprises and their coconspirators to cease their unlawful

  operations. Accordingly, the Reillys ask this Court to award them the damages, costs, and fees

  to which they are entitled, and both Plaintiffs request that the Court order the RICO Defendants

  to cease their open and notorious violation of federal law.

         5.      Furthermore, the CSA preempts the practice of state and local officials in

  Colorado of issuing licenses to operate recreational marijuana businesses. Those licenses not

  only purport to authorize but also affirmatively assist the criminal conduct of those who receive

  them by making it easier for license holders to attract investors and customers. Recreational

  marijuana business licensing directly conflicts with and poses a major obstacle to federal law’s

  goal of reducing marijuana trafficking and possession through an almost total prohibition on the

  drug’s cultivation and distribution. Accordingly, Plaintiffs ask this Court to order the named

  state and local governmental defendants to withdraw the recreational marijuana licenses they

  have issued so far and not to issue any additional such licenses in the future.

                                              II.
                                   JURISDICTION AND VENUE

         6.      This Court has subject matter jurisdiction over Plaintiffs’ RICO claims under 18

  U.S.C. § 1964(c) and 28 U.S.C. § 1331. This Court has subject matter jurisdiction over

  Plaintiffs’ federal preemption claims under 28 U.S.C. § 1331, and the Plaintiffs seek remedies

  for their federal preemption claims under 28 U.S.C. §§ 1651, 2201, and 2202.

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           7.    Venue is proper in this Court under 28 U.S.C. § 1391(b) because most of the

  Defendants reside in Colorado and a substantial portion of the events giving rise to this suit

  occurred in Colorado. Venue over Plaintiffs’ RICO claims is also proper under 18 U.S.C.

  § 1965(a) because the RICO defendants reside in Colorado and transact affairs in Colorado.

                                                III.
                                              PARTIES

           8.    Plaintiff Safe Streets is a membership organization whose members are interested

  in law enforcement issues, particularly the enforcement of federal laws prohibiting the

  cultivation, distribution, and possession of marijuana. Plaintiffs Phillis Windy Hope Reilly and

  Michael P. Reilly are members of Safe Streets, as are numerous other individuals and

  organizations throughout Colorado. The Reillys and other Safe Streets members have suffered

  injuries caused by the operations of the Colorado-licensed marijuana industry.

           9.    Plaintiffs Phillis Windy Hope Reilly and Michael P. Reilly are Colorado residents

  who own approximately 105 acres of land immediately east and adjacent to the recreational

  marijuana grow at 6480 Pickney Road, Rye, CO 81069.

           10.   Defendant Alternative Holistic Healing, LLC, d/b/a Rocky Mountain Organic, is a

  Colorado corporation that has its principal place of business at 5412 Highway 119, Unit B, Black

  Hawk, CO 80422, where it operates a recreational marijuana cultivation facility and retail shop.

  It plans to operate an additional recreational marijuana cultivation facility at 6480 Pickney Road.

           11.   Defendant Joseph R. Licata has a fifty percent interest in Alternative Holistic

  Healing and is one of its two members. He resides at 1300 West 70th Avenue, Denver, CO

  80221.



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         12.    Defendant Jason M. Licata has a fifty percent interest in Alternative Holistic

  Healing and is one of its two members. He resides at 212 Elk Place, Black Hawk, CO 80422.

         13.    Defendant 6480 Pickney, LLC owns the marijuana cultivation at 6480 Pickney

  Road in Rye, CO. Defendant Parker Walton (“Walton”) is the sole member, manager, and

  owner of 6480 Pickney, LLC. Walton’s residence and the principal office of 6480 Pickney,

  LLC, are located at 3275 S. Clermont Street, Denver, CO 80222.

         14.    Defendant Camp Feel Good, LLC is a Colorado corporation Walton formed and

  that, on information and belief, Walton owns and controls. Camp Feel Good leases Walton’s

  land from 6480 Pickney, LLC. Camp Feel Good’s mailing address is P.O. Box 20236, Colorado

  City, CO 81019.

         15.    Defendant Roger Guzman (“Guzman”) is the President of Defendant Blackhawk

  Development Corporation, a Colorado corporation that owns the property at 5412 Highway 119.

  Guzman’s mailing address is P.O. Box 1743, Evergreen, CO 80437, and Blackhawk

  Development Corporation’s mailing address is also P.O. Box 1743, Evergreen, CO 80437.

         16.    Defendant Washington International Insurance Co. is a New Hampshire

  corporation that issues surety bonds on behalf of marijuana businesses in Colorado, including

  Alternative Holistic Healing. Its principal place of business at 475 N. Martingale Road #850,

  Schaumburg, IL 60173.

         17.    Defendant David L. Patch is the manager of Defendant Patch Construction, LLC,

  which has agreed to transport water to the marijuana grow at 6480 Pickney Road. The principal

  place of business of both David Patch and Patch Construction is 17100 Highway 115, Florence,

  CO 81226.


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           18.   Defendant John Doe 1 is constructing the marijuana grow facility at 6480 Pickney

  Road. Defendants Alternative Holistic Healing, Joseph Licata, Jason Licata, 6480 Pickney,

  Walton, Camp Feel Good, Guzman, Blackhawk Development Corp., Washington International

  Insurance Co., David Patch, and Patch Construction Co., and John Doe 1 are hereinafter referred

  to as the “RICO Defendants.”

           19.   Defendant John W. Hickenlooper, Jr., is the Governor of Colorado and is named

  in his official capacity. As Colorado’s chief executive official, Hickenlooper is responsible for

  overseeing the enforcement and administration of the state’s marijuana laws. The Governor’s

  mailing address is 136 State Capitol, Denver, CO 80203.

           20.   Defendant Barbara J. Brohl is the Executive Director of the Colorado Department

  of Revenue and is named in her official capacity. The Colorado Marijuana Enforcement

  Division is a division of the state’s Department of Revenue, and it promulgates regulations under

  the Colorado Retail Marijuana Code. It also issues licenses to Colorado marijuana businesses.

  The Department of Revenue’s principal office is located at 1375 Sherman Street, Denver, CO

  80261.

           21.   Defendant W. Lewis Koski is the Director of the Colorado Marijuana

  Enforcement Division and is named in his official capacity. The Marijuana Enforcement

  Division’s principal office is located at 455 Sherman Street, Suite 390, Denver, CO 80203.

  Defendants Hickenlooper, Brohl, and Koski are hereinafter referred to as the “State Defendants.”

           22.   Defendant Pueblo County Commission was the local marijuana licensing

  authority at the time Alternative Holistic Healing received its local license to cultivate marijuana

  at 6480 Pickney Road. Since that time, Pueblo County marijuana licensing responsibilities have


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  been transferred to Defendant Pueblo County Liquor and Marijuana Licensing Board. Both

  licensing authorities operate at 215 W. 10th Street, Pueblo, CO 81003. They are hereinafter

  referred to as the “Pueblo Defendants.”

                                             IV.
                                    FACTUAL ALLEGATIONS

      Federal Law Prohibits the Production and Distribution of Recreational Marijuana

         23.     Congress passed the CSA in 1970 as Title II of the Comprehensive Drug Abuse

  Prevention and Control Act. 84 Stat. 1236. Among the purposes of the CSA was to reduce drug

  abuse and the illegitimate traffic in controlled substances in the United States by prohibiting the

  unauthorized production, distribution, or possession of controlled substances.

         24.     When it passed the CSA, Congress found that “[t]he illegal importation,

  manufacture, distribution, and possession and improper use of controlled substances have a

  substantial and detrimental effect on the health and general welfare of the American people,” 21

  U.S.C. § 801(2), and that “[a] major portion of the traffic in controlled substances flows through

  interstate and foreign commerce,” id. § 801(3). The CSA seeks to address the social and

  economic ills caused by drug abuse and drug trafficking by prohibiting the illicit drug trade.

         25.     The CSA categorizes drugs according to a series of schedules, with the most

  dangerous drugs falling under Schedule I. See id. § 812(b). Schedule I drugs have “a high

  potential for abuse.” Id. § 812(b)(1). In enacting the CSA, Congress classified marijuana as a

  Schedule I drug. Id. § 812(c). Congress thus deemed marijuana to have a high potential for

  abuse. Id. § 812(b)(1). By classifying marijuana as a Schedule I drug, as opposed to listing it on

  a lesser schedule, Congress made the manufacture, distribution, or possession of marijuana a



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  criminal offense, with the sole exception being use of the drug as part of a Food and Drug

  Administration preapproved research study. Id. §§ 823(f), 841(a)(1), 844(a).

         26.     The large-scale manufacture and distribution of marijuana is a serious felony

  under the CSA. A first-time offender convicted of producing or distributing 1,000 or more

  marijuana plants is subject to a sentence of 10 years to life imprisonment. Id. § 841(b)(1)(A).

  Growing 100 or more marijuana plants subjects the first-time offender to a sentence of 5 to 40

  years imprisonment. Id. § 841(b)(1)(B). The cultivation and sale of smaller amounts of

  marijuana is punishable by maximum sentences that can be as long as 20 years. See id.

  § 841(b)(1)(C), (D). The CSA also criminalizes the possession of marijuana. Unless otherwise

  authorized by federal law, possession of marijuana by a first-time offender is punishable by up to

  1 year of imprisonment. Id. § 844(a).

         27.     In addition to its prohibitions on cultivation, sale, and possession of marijuana,

  the CSA also forbids a wide range of other activities connected with the operations of a

  marijuana business. Thus, it is a crime to possess “any equipment, chemical, product, or

  material” with the intention of using it to manufacture marijuana, id. § 843(a)(6), or to distribute

  any such material with the knowledge that it will be used to manufacture marijuana, id.

  § 843(a)(7). The CSA bars the use a telephone, email, mail, or any other “communication

  facility” in furtherance of the manufacture or sale of marijuana, id. § 843(b), and it is a federal

  crime to use the Internet to advertise the sale of marijuana, id. § 843(c)(2)(A). Reinvesting the

  proceeds from marijuana operations is also a crime, id. § 854(a), as is knowingly facilitating a

  financial transaction involving funds derived from manufacturing and selling marijuana, 18

  U.S.C. §§ 1956, 1957, 1960. It is also a crime to knowingly lease, rent, maintain, manage, or


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   control a place where marijuana is manufactured or sold. 21 U.S.C. § 856. Leading a group of

   five or more people who commit a continuing series of federal marijuana crimes is an especially

   serious offense. Id. § 848. And attempting or conspiring to commit most of those crimes is also

   a criminal offense. See id. § 846; 18 U.S.C. §§ 1956(a)(1), 1956(h), 1957(a).

             28.   These criminal prohibitions on virtually every aspect of the marijuana business

   make the federal policy embodied in the CSA unmistakably clear: marijuana is a dangerous drug

   that is banned throughout the United States. And because RICO defines most violations of the

   CSA as “racketeering activity,” see 18 U.S.C. § 1961(1)(D), any business engaged in the

   commercial cultivation and sale of recreational marijuana is a criminal enterprise for purposes of

   federal law. Those who conduct or conspire to assist such enterprises are subject to the severe

   criminal sanctions and civil liability that RICO imposes. See id. § 1962(c), (d).

         Colorado Facilitates the Production and Distribution of Recreational Marijuana

             29.   Despite the strict federal prohibitions on virtually every aspect of the commercial

   marijuana business, Colorado and many of its local jurisdictions have erected a marijuana

   regulatory regime that purports to authorize and seeks to regulate, tax, and promote those federal

   crimes.

             30.   In 2012, Colorado voters approved Amendment 64, an amendment to the state

   constitution that legalizes recreational (sometimes called “retail”) marijuana under Colorado law.

   Amendment 64 declares it to be “not unlawful” to possess, use, display, purchase, transport,

   grow, or process marijuana for personal use in compliance with the State’s recreational

   marijuana regulatory regime. COLO. CONST. art. XVIII, § 16(3). It also says that it is “not

   unlawful” for a business to manufacture, possess, purchase, cultivate, harvest, process, package,


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   transport, display, or possess marijuana for sale so long as the business complies with state and

   local recreational marijuana statutes and regulations. Id. § 16(4).

           31.     To give effect to and further the goals of Amendment 64, the Colorado General

   Assembly passed the Colorado Retail Marijuana Code. COLO. REV. STAT. § 12-43.4-101 et seq.

   The Retail Marijuana Code purports to expressly authorize the cultivation, distribution, and

   possession of marijuana for recreational use. Thus, it speaks of licensees “authorized, to

   cultivate, manufacture, distribute, sell, or test retail marijuana and retail marijuana products,” id.

   § 12-43.4-103(4), says that “[a] retail marijuana store may cultivate its own retail marijuana if it

   obtains a retail marijuana cultivation facility license,” id. § 12-43.4-402(1)(b), and specifies the

   circumstances under which “[a] licensed retail marijuana store may . . . sell retail marijuana,

   retail marijuana products, [and] marijuana accessories,” id. § 12-43.402(7)(a).

           32.     Numerous other provisions of the Retail Marijuana Code contain similar

   statements purporting to authorize violations of the CSA. See, e.g., id. § 12-43.4-304(1) (“A

   license applicant is prohibited from operating a licensed retail marijuana business without state

   and local jurisdiction approval.”); id. § 12-43.4-402(1)(c)(II) (“A retail marijuana store or

   another retail marijuana cultivation facility may sell no more than thirty percent of its total on-

   hand inventory to another Colorado licensed retail marijuana establishment.”); id. § 12-

   43.402(2)(b) (specifying when “[a] retail marijuana store licensee may transact with a retail

   marijuana products manufacturing licensee for the purchase of retail marijuana”); id. § 12-43.4-

   402(8) (describing “where an automatic dispensing machine that contains retail marijuana or

   retail marijuana products may be located”); id. § 12-43.4-901(5)(a) (“[N]o person shall form a

   business . . . with the purpose or intent . . . of transporting, cultivating, processing, transferring,


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   or distributing marijuana or marijuana products without prior approval of the state licensing

   authority and the local jurisdiction.”).

          33.     The Retail Marijuana Code charges the Department of Revenue’s Marijuana

   Enforcement Division (“MED”) with issuing state licenses “for the cultivation, manufacture,

   distribution, sale, and testing of retail marijuana.” Id. § 12-43.4-202(2)(a). In implementing the

   state’s marijuana licensing regime and other marijuana regulations, MED has described its

   mission to include creating “collaborative partnerships with stakeholders that establish public

   trust and value in the agency.” A 2014 MED-commissioned report says that the agency seeks

   “proper control and regulation of state-level marijuana production” by “design[ing] the

   regulatory framework surrounding the control and pricing measures necessary to maintain an

   orderly market.” The agency’s overarching goal is thus to authorize, facilitate, and promote

   Colorado’s commercial recreational marijuana industry.

          34.     Under the Retail Marijuana Code, businesses may only cultivate and distribute

   marijuana if they obtain both state and local licenses authorizing them to do so. COLO. REV.

   STAT. § 12-43.4-309(2). To enable marijuana businesses to operate, MED issues five types of

   state recreational marijuana licenses: (1) retail marijuana store licenses, which authorize the

   licensee to sell marijuana at a particular location, id. § 12-43.4-402(1); (2) retail marijuana

   cultivation facility licenses, which authorize the licensee to cultivate marijuana at a particular

   location, id. § 12-43.4-403(1); (3) retail marijuana products manufacturing licenses, which

   authorize the licensee to produce marijuana-infused products for human consumption at a

   particular location, id. § 12-43.4-404(1); (4) retail marijuana testing facility licenses, which

   authorize licensees to perform testing and research on retail marijuana, id. § 12-43.4-405(1); and


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   (5) occupational licenses for owners, managers, operators, employees, contractors, and other

   support staff associated with licensed marijuana businesses, see id. § 12-43.4-401(1)(e).

          35.     When MED issues a recreational marijuana business license, it provides the

   business with a physical certificate that includes in large font the following text: “State of

   Colorado, Department of Revenue, Marijuana Enforcement Division, Retail Marijuana

   Conditional License.” Under the Retail Marijuana Code, licensees must “conspicuously place

   the license at all times on the licensed premises.” Id. § 12-43.4-309(8). The prominent display

   of these licenses lends the State’s name and credibility to the licensee, thus functioning as a state

   endorsement that encourages others to do business with it.

          36.     The Retail Marijuana Code requires marijuana occupational licensees to wear

   state-issued badges while working in “limited-access areas”—anywhere that marijuana is grown,

   cultivated, stored, weighed, packaged, sold, or processed for sale. Id. § 12-43.4-901(3)(a); see

   id. § 12-43.4-105 (defining “limited access area”). These state-issued badges are at all times the

   property of state licensing authorities. 1 COLO. CODE REGS. 212-R233(C). Like the physical

   licenses marijuana businesses must display, the occupational licensee badges encourage potential

   marijuana investors and customers by prominently signaling the State’s endorsement of the

   licensee.

          37.     To obtain licenses, the owners, officers, managers, and employees of businesses

   that seek to participate in the state-approved recreational marijuana industry must pass criminal

   history background checks, COLO. REV. STAT. § 12-43.4-202(3)(a)(III), and MED can deny

   licenses to applicants deemed to lack “good moral character,” id. § 12-43.4-306(1)(b)–(d), (g).

   These background checks promote investment in the recreational marijuana industry by assuring


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   potential investors that those associated with licensed marijuana businesses do not have

   extensive criminal records. For similar reasons, the mandated background checks encourage the

   consumption of recreational marijuana by signaling to potential customers that the State has

   investigated and approved the licensed businesses.

          38.     The State’s recreational marijuana licensing regime also encourages the growth of

   the marijuana industry by prohibiting false advertising, id. § 12-43.4-901(4)(b), requiring

   producers of marijuana-infused products to satisfy certain sanitary standards, id. §§ 12-43.4-

   202(3)(a)(IV) & (XI), 12-43.4-404(3), and mandating the installation of security and surveillance

   equipment on licensed premises, id. § 12-43.4-202(3)(a)(V). Like the state background checks,

   these regulatory requirements assure customers of the safety of the premises and products sold

   by licensees. The result of this state oversight is a larger volume of sales for the recreational

   marijuana industry and easier access to investment dollars. Indeed, a 2014 MED-commissioned

   report acknowledges that “legalization and commercial sale of marijuana” could increase

   consumption of the drug in part by “provid[ing] a more reliable and safer product than the black

   market.”

          39.     The Retail Marijuana Code also promotes the cultivation, distribution, and

   consumption of marijuana by expressly applying the State’s antitrust laws to recreational

   marijuana businesses. See id. § 12-43.4-901(4)(i). Antitrust laws promote market competition,

   thus reducing the price and increasing the quantity and quality of products sold. The purpose

   and effect of extending these laws to the marijuana industry is to increase the total amount of

   marijuana cultivated, sold, and consumed.




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          40.     Other provisions of the Retail Marijuana Code allow MED to limit production and

   the number of licenses it issues but require it to consider “the total current anticipated demand

   for retail marijuana and retail marijuana products in Colorado,” id. § 12-43.4-202(4)(b)(II)(A),

   and “the reasonable availability of new licenses after a limit is established,” id. § 12-43.4-

   202(4)(b)(I)(A). Those considerations show that the overall aim of the state’s licensing regime is

   to facilitate and promote the cultivation and sale of marijuana.

          41.     MED also oversees a “responsible vendor” program under which licensed

   recreational marijuana businesses receive the favored designation of “responsible vendor” by

   sending their employees to certain MED-approved classes. See id. §§ 12-43.3-1101, 1102. This

   status entitles marijuana businesses to favorable treatment from state and local regulators. Id.

   § 12-43.3-1101(3); see 1 COLO. CODE REGS. 212-2-R407. Colorado lends its name and

   credibility to the marijuana businesses it designates as “responsible,” thus promoting investment

   and sales for the businesses that enjoy this special state status.

          42.     Further confirming that its overarching marijuana policy is to promote and

   facilitate violations of the CSA, the state recently announced that it will reinvest a portion of its

   recreational marijuana taxes in a splashy “Good to Know” marketing campaign that seeks to

   destigmatize marijuana and promote its use by out-of-state visitors. In one radio ad paid for by

   the Colorado Department of Public Health and Environment, the announcer says that “now that

   marijuana’s legal here, we’ve all got a few things to know. But instead of telling you what you

   can’t do, we’re going to tell you what you can do too.” The announcer then rhythmically recites

   a poorly constructed poem over banjo and tambourine music: “If you choose to use, don’t drive

   high,/ Instead, just walk, or skip, or catch a ride./ . . . And whatever you get here can’t leave our


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   state,/ so stick around awhile, you’ll find this place is pretty great.” These verses and the State’s

   other marketing efforts are a transparent attempt to promote the commercial recreational

   marijuana industry.

          43.     MED has issued hundreds of recreational marijuana business and occupational

   licenses, and each of these licenses authorizes and facilitates the commission of federal drug

   crimes. In a recent interview, Defendant Brohl summed up the purpose of these licensing efforts

   by stating that her “goal is to look at the overall market” and ensure that “the overall market

   ha[s] sufficient supply to meet the demand.”

          44.     Since enactment of Amendment 64, the marijuana industry has experienced

   explosive growth in Colorado, and this growth would not have been possible without the Sate

   Defendants’ implementation of laws that authorize, facilitate, and assist the industry.

   Department of Justice enforcement guidance makes clear that non-enforcement of the CSA by

   the Executive Branch depends on the “states and local governments that have enacted laws

   authorizing marijuana-related conduct . . . implement[ing] strong and effective regulatory and

   enforcement systems.” Thus, Colorado’s marijuana laws and MED’s implementation of those

   laws are key components of the Colorado marijuana industry’s success.

          45.     Among Amendment 64’s stated aims is to “enhanc[e] revenue for public

   purposes.” COLO. CONST. art. XVIII, § 16(1)(a). To that end, recreational marijuana sales are

   subject to a ten percent state recreational marijuana sales tax, COLO. REV. STAT. § 39-28.8-202, a

   fifteen percent state excise tax, id. § 39-28.8-302(1)(a), as well as the state’s ordinary 2.9% sales

   tax. Colorado also enriches itself from the recreational marijuana industry by charging licensees

   numerous hefty permitting fees.


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          46.     Predictably, the State Defendants’ efforts to promote the recreational marijuana

   industry have yielded substantial revenues for the state. MED records indicate that in December

   2014 alone, Colorado received approximately $6.4 million in sales taxes from the recreational

   marijuana industry, along with an additional $510,790 in license and application fees. The state

   is thus enriching itself by systematically authorizing, facilitating, and promoting serious federal

   drug crimes.

          47.     Defendant Hickenlooper recently summarized Colorado’s efforts to enrich itself

   by supporting the recreational marijuana industry, explaining that the state has implemented

   “robust regulations that allow the industry to develop and prosper.” Through those regulations,

   the State has facilitated the emergence of a billion dollar industry built upon the brazen

   commission of federal drug crimes.

                        The Pueblo Defendants Facilitate the Production and
                              Distribution of Recreational Marijuana

          48.     Alternative Holistic Healing obtained its local license to cultivate recreational

   marijuana at 6480 Pickney Road from the Pueblo County Commission, which at the time was

   responsible for local marijuana licensing in Pueblo County, Colorado. Like MED, the Pueblo

   County Commission’s practice was to regularly issue licenses that purport to authorize

   businesses to cultivate, produce, and sell recreational marijuana and marijuana-infused products.

   The Pueblo County Commission’s recreational marijuana licensing responsibilities were recently

   transferred to Defendant Pueblo County Liquor and Marijuana Licensing Board, but this does not

   represent a meaningful change in overall recreational marijuana licensing policy for Pueblo

   County.



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           49.     The Pueblo marijuana licensing authority may deny a recreational marijuana

   business license based on the results of an investigation into “the character and background of

   the proposed licensee, its owners, officers, directors, agents, servants and/or employees and the

   sources of its financial investment.” PUEBLO COUNTY CODE § 5.12.070(D). Recreational

   marijuana business licenses issued by the Pueblo licensing authority thus encourage the

   marijuana industry’s potential investors and customers by signaling that county officials have

   investigated the backgrounds of those associated with the licensee and that the County licensing

   authority endorses the licensee’s activities.

           50.     Like the Colorado Retail Marijuana Code, the Pueblo County Code expressly

   contemplates that county licenses authorize license holders to participate in the commercial

   marijuana industry. Thus, a “licensed premises” is defined as the location where “the licensee is

   authorized to cultivate, manufacture, distribute, test, or sell marijuana.” Id. § 5.12.040(7); see

   also id. § 5.12.040(21) (referring to facilities where “the licensee is authorized to grow and

   cultivate marijuana”); id. § 5.12.140(D) (“It is unlawful and a violation of this Chapter for a

   Marijuana Establishment to operate until it has been licensed under this Chapter by the Local

   Licensing Authority and also licensed by the State Licensing Authority pursuant to the Colorado

   Marijuana Code.”); id. § 5.12.180 (“Any person twenty-one years of age or older is hereby

   authorized to manufacture, possess, distribute, sell or purchase marijuana accessories in

   conformance with Section 16 of Article XVIII of the Colorado Constitution, provided they meet

   all applicable state or local laws.”).

           51.     Pueblo County has enjoyed substantial tax revenue thanks to its efforts to

   authorize and facilitate the operations of the commercial marijuana industry. From January


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   through October 2014, the county reported that it had received $430,000 in tax revenue from its

   3.5% sales tax on recreational marijuana. And in 2013, the county received more than $90,000

   in revenue from recreational marijuana license and application fees. The county has thus

   enriched itself by promoting and facilitating violations of the CSA.

          52.     Indeed, Joan Armstrong, a Pueblo County official involved in marijuana licensing

   decisions, has described the rise of the marijuana industry in the county as “a huge economic

   boon.” And Pueblo County Commissioner Sal Pace has expressed his hope and ambition that

   Pueblo County will eventually have the “lion’s share of the state’s grow facilities.” Such

   statements underscore that, like Colorado, Pueblo County has sought to enrich itself by

   purporting to authorize and seeking to assist the recreational marijuana industry.

          53.     By issuing licenses to operate recreational marijuana businesses, the Pueblo

   Defendants purport to authorize conduct that the CSA prohibits. In addition to authorizing

   federal crimes, the Pueblo Defendants’ practice of issuing recreational marijuana licenses

   facilitates and promotes those crimes by assisting potential marijuana investors and customers in

   their search for marijuana businesses.

                The RICO Defendants Operate Licensed Racketeering Enterprises
                     that Cultivate and Distribute Recreational Marijuana

          54.     On July 1, 2014, Defendant Walton paid $44,900 for the 40.72-acre parcel located

   at 6480 Pickney Road, Rye, CO. Within two months, Walton had formed Defendant 6480

   Pickney, LLC, and transferred title to the land to that entity. 6480 Pickney then leased the land

   to Defendant Camp Feel Good, LLC, another entity that Walton formed and that, on information

   and belief, Walton still owns and controls.



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          55.     Walton is the owner and sole member and manager of 6480 Pickney, LLC, and

   Camp Feel Good, LLC, and in those capacities he leased the land to Alternative Holistic Healing,

   LLC, which grows and sells recreational marijuana under the name Rocky Mountain Organics at

   5412 Highway 119, Black Hawk, CO. Alternative Holistic Healing is jointly owned and

   controlled by Defendants Joseph Licata and Jason Licata, each of whom has a fifty percent

   interest in the company.

          56.     In leasing the land, Alternative Holistic Healing, Joseph Licata, Jason Licata,

   Walton, 6480 Pickney, and Camp Feel Good all understood and agreed that the property would

   be used to grow recreational marijuana to be sold at Alternative Holistic Healing’s Black Hawk

   store, among other places. Leasing or maintaining property for the cultivation of marijuana is a

   crime under 21 U.S.C. § 856 and is racketeering activity under 18 U.S.C. § 1961(1)(D).

          57.     Alternative Holistic Healing, Joseph Licata, Jason Licata, Walton, 6480 Pickney,

   and Camp Feel Good also conspired and agreed to work together to develop the property at 6480

   Pickney Road for marijuana cultivation and to contribute to the ongoing violations of the CSA

   inherent in those operations. Entering into such an agreement is conspiracy under 21 U.S.C.

   § 846 and is racketeering activity under 18 U.S.C. § 1961(1)(D).

          58.     To enable Alternative Holistic Healing to grow marijuana on the land, Walton and

   6480 Pickney agreed to construct and are currently constructing facilities specially designed for

   marijuana cultivation. They agreed to construct a building with lighting, water, and security

   systems custom built for growing marijuana. On information and belief, the building or some

   other structure on the land will accommodate the processing and drying of marijuana. The

   building under construction at 6480 Pickney Road is planned to be 3,670 square feet, and Joseph


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   Licata told the Pueblo County Commission that it would house as many as 600 marijuana plants

   at one time. Possessing or constructing these facilities, equipment, products, and materials for

   the cultivation and processing of marijuana violates 21 U.S.C. § 843(a)(6) and is racketeering

   activity under 18 U.S.C. § 1961(1)(D).

          59.     To undertake the construction of the building, Alternative Holistic Healing and

   Walton hired John Doe 1. In light of the many specialized features that are necessary to make a

   building suitable for growing marijuana, John Doe 1 is clearly aware of the purpose of this

   building. In nevertheless associating himself with 6480 Pickney and agreeing to assist it with the

   construction, John Doe 1 conspired with the other RICO Defendants to violate the CSA. Such

   conspiracy violates 21 U.S.C. § 846 and is racketeering activity under 18 U.S.C. § 1961(1)(D).

          60.     On information and belief, Alternative Holistic Healing, Joseph Licata, Jason

   Licata, Walton, 6480 Pickney, and Camp Feel Good used the telephone, email, or other

   communication facilities to take steps in furtherance of their efforts to unlawfully lease the 6480

   Pickney Road property and develop it. Such uses of communication facilities violates 21 U.S.C.

   § 843(b) and are racketeering activity under 18 U.S.C. § 1961(1)(D).

          61.     The recreational marijuana cultivation at 6480 Pickney Road will require far more

   water than is available on site, and to solve that problem Walton recruited Defendants David L.

   Patch and Patch Construction to haul water from Florence to the grow. Included in Alternative

   Holistic Healing’s application for a local license is the following statement, which David L.

   Patch signed for Patch Construction: “I have an agreement to haul water from the City of

   Florence to 6480 Pickney Road, Rye, CO.” By signing this statement to help Alternative

   Holistic Healing obtain a local license, David Patch and Patch Construction adopted the


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   overarching goal of the conspiracy: to cultivate recreational marijuana at 6480 Pickney Road and

   sell it off site through an ongoing pattern of racketeering activity. By knowingly agreeing to

   assist and promote the efforts of the conspiracy, David Patch and Patch Construction violated 21

   U.S.C. § 846, which is racketeering activity under 18 U.S.C. § 1961(1)(D).

          62.     Alternative Holistic Healing applied for both state and local licenses to cultivate

   marijuana at 6480 Pickney Road. On October 1, 2014, MED granted Alternative Holistic

   Healing a state license, conditioned on it also obtaining a local license. On December 29, 2014,

   the Pueblo County Commission voted 2 to 1 to grant Alternative Holistic Healing a local license.

   In voting to deny Alternative Holistic Healing’s local license application, Pueblo County

   Commissioner Terry Hart said that he believed that a marijuana grow would interfere with the

   use and enjoyment of land in the surrounding area.

          63.     In agreeing to develop and assist in the operations of the marijuana cultivation

   facilities at 6480 Pickney Road, Walton, 6480 Pickney, Camp Feel Good, David Patch, and

   Patch Construction became part of a larger drug conspiracy. Through Alternative Holistic

   Healing, Joseph Licata and Jason Licata operate a store in Black Hawk, Colorado, that grows and

   sells recreational marijuana. The Black Hawk operations violate numerous provisions of the

   CSA: maintaining the premises violates 21 U.S.C. § 856, growing, processing, and selling

   marijuana there violates 21 U.S.C. § 841(a), and maintaining the necessary chemicals,

   equipment, and materials violates 21 U.S.C. § 843(a)(6). On information and belief, Alternative

   Holistic Healing, Joseph Licata, and Jason Licata have used the telephone, email and other

   communications facilities in furtherance of their drug conspiracy, thus violating 21 U.S.C.




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   § 843(b). Each of those federal drug crimes is racketeering activity under 18 U.S.C.

   § 1961(1)(D).

          64.      Alternative Holistic Healing’s Black Hawk store is located at 5412 Highway 119,

   and this property is owned by Defendant Blackhawk Development Corp., which is controlled by

   its President, Defendant Roger Guzman. Alternative Holistic Healing, Joseph Licata, Jason

   Licata, Blackhawk Development Corp., and Guzman entered into a lease under which it was

   expressly agreed that Alternative Holistic Healing would use the property to sell marijuana.

   Blackhawk Development Corp. and Guzman thus violated 21 U.S.C. § 856 and conspired to

   violate the CSA with Alternative Holistic Healing, Joseph Licata, and Jason Licata in violation

   of 21 U.S.C. § 846.

          65.      Alternative Holistic Healing advertises marijuana for sale over the Internet in

   violation of 21 U.S.C. § 843(c)(2)(A), and this is racketeering activity under 18 U.S.C.

   § 1961(1)(D). A recent posting to Facebook by Alternative Holistic Healing, operating under the

   name Rocky Mountain Organics, announced a sale during which customers who mentioned the

   marijuana strain “Jack Flash” would receive five dollars off their next purchase. Another of the

   entity’s Facebook posts features a photograph of marijuana buds under what is presumably the

   name of the pictured marijuana strain: “Lemon Skunk.” Elsewhere on the Facebook page,

   Joseph Licata, posing as a customer, posted the following comment: “Been there and great prices

   and really great product.” Licata or someone else affiliated with the entity then replied: “Thank

   you! We try to have a variety of strains and edibles, to cater to your individual needs.”

          66.      On May 27, 2014, Defendant Washington International Insurance Co. issued a

   $6,000 surety bond on behalf of Alternative Holistic Healing, guaranteeing its tax payments to


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   the State of Colorado as contemplated by COLO. REV. STAT. § 12-43.4-303. The bond expressly

   states that Alternative Holistic Healing applied “for a license to act as a retail marijuana

   cultivation facility in the State of Colorado.” Washington International Insurance Co. knew and

   intended for Alternative Holistic Healing to use this surety bond to obtain recreational marijuana

   licenses as part of its efforts to operate a marijuana business in violation of the CSA. By issuing

   the surety bond with the intent to further Alternative Holistic Healing’s federal drug crimes,

   Washington International Insurance Co. conspired with Alternative Holistic Healing, Joseph

   Licata, and Jason Licata to commit crimes under the CSA in violation of 21 U.S.C. § 846. That

   is racketeering activity under 18 U.S.C. § 1961(1)(D).

          67.     The RICO Defendants together formed an association-in-fact enterprise for the

   purpose of cultivating marijuana at 6480 Pickney Road and selling it at Alternative Holistic

   Healing’s Black Hawk store, among other places. To that end, they pooled their resources,

   knowledge, skills, and labor to achieve through the enterprise efficiencies in the cultivation and

   distribution of marijuana that none of them could have achieved individually.

          68.     All of the RICO defendants have contractual and other relationships with each

   other and are collaborating together to contribute to the association-in-fact enterprise’s efforts to

   cultivate recreational marijuana at 6480 Pickney Road and thereby engage in an ongoing pattern

   of racketeering activity. Alternative Holistic Healing, Joseph Licata, Jason Licata, 6480

   Pickney, Walton, and Camp Feel Good all participated in the agreement as part of which

   Alternative Holistic Healing leased the 6480 Pickney Road property for cultivating marijuana.

   David Patch signed a document for Patch Construction Co. that was included with Alternative

   Holistic Healing’s application for a local license. And regardless of whether Washington


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   International Insurance Co., Blackhawk Development Corp. and Guzman know the identities of

   all of their coconspirators, they are aware that someone is performing the essential roles of the

   other RICO defendants in furtherance of the enterprise’s criminal activities.

          69.     On information and belief, decisions about how the property at 6480 Pickney

   Road is developed and used are made collectively by the Alternative Holistic Healing, Joseph

   Licata, Jason Licata, 6480 Pickney, and Walton, with each having an important role in

   decisionmaking, operations, and management.

          70.     Defendants Walton and 6480 Pickney play central roles in the management and

   operations of the association-in-fact enterprise. Acting on behalf of the enterprise, Walton

   secured a water supply for growing marijuana from the City of Florence, Colorado and sent

   proof of that water supply to Pueblo County officials in order to support Alternative Holistic

   Healing’s local license application. Walton also wrote the following note, which was included

   with Alternative Holistic Healing’s county license application: “I, Parker Walton, as the sole

   member and manager of 6480 Pickney LLC, allow the use of RMJ (Retail Marijuana) cultivation

   facility on my property at 6480 Pickney Rd. /s/ Parker Walton on behalf of 6480 Pickney LLC.”

   The Pueblo County Commission considered Alternative Holistic Healing’s license application at

   a December 22, 2014 hearing. Walton spoke at the hearing in support of the application,

   describing himself as “the owner” of 6480 Pickney Road. Also at the hearing, Joseph Licata

   referred to Walton as “the builder.” When the County Commission asked Joseph Licata

   questions about the planned size of the cultivation facility and the number of plants it would

   accommodate, he consulted Walton before answering.




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          71.     Alternative Holistic Healing, Joseph Licata, and Jason Licata also have important

   roles managing the enterprise’s affairs. Alternative Holistic Healing applied for and holds the

   state and local licenses that authorize cultivation of marijuana at 6480 Pickney Road. As equal

   owners in Alternative Holistic Healing, Joseph Licata and Jason Licata completed and signed

   those applications and make decisions about Alternative Holistic Healing’s finances and business

   strategy.

          72.     Black Hawk is a mountain community, and Defendant Brohl recently stated in an

   interview that approximately 80 percent of marijuana sold in mountain communities is purchased

   by out-of-state visitors. Thus, by supplying marijuana to a recreational store in Black Hawk, the

   6480 Pickney Road marijuana grow will produce a large volume of marijuana that will move in

   the interstate market for illegal drugs. Moreover, in constructing the facility, the RICO

   Defendants have already procured products and services through the interstate market in

   furtherance of the drug conspiracy.

          73.     All of the RICO defendants agreed to participate in and assist the enterprise with

   full knowledge of its overall aim of growing and selling marijuana. As set forth above, that goal

   could only be accomplished through numerous violations of the CSA. Each such violation of the

   CSA is racketeering activity, and all of the RICO defendants thus knew and intended that in

   agreeing to assist the enterprise they would help it carry out a pattern of racketeering activity.

      The RICO Defendants’ Marijuana Operations and the State and Pueblo Defendants’
             Decisions To License Those Operations Injure the Reillys’ Property

          74.     Plaintiffs Phillis Windy Hope Reilly and Michael P. Reilly own lots 1, 2, and 6 of

   the Meadows at Legacy Ranch, a development on the south side of Pickney Road. The Reillys’

   lots form a contiguous parcel of approximately 105 acres of beautiful rolling pasture with

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   sweeping mountain vistas that include views of Pike’s Peak. Although the Reillys do not live on

   their land, they often visit on weekends with their children to ride horses, hike, and visit with

   friends in the closely-knit neighborhood. The Reillys’ property includes two agricultural

   buildings.

          75.     The 6480 Pickney Road marijuana grow is west and immediately adjacent to the

   Reillys’ property. Although Defendant 6480 Pickney owns a 40-acre parcel, the structure is

   being built in the corner of the lot, just a few feet from the Reillys’ property line. The ongoing

   construction has already marred the mountain views from the Reillys’ property, thus making it

   less suitable for hiking and horseback riding. The building’s purpose—the manufacture of

   illegal drugs—exacerbates this injury, for when the Reillys and their children visit the property

   they are reminded of the racketeering enterprise next door every time they look to the west.

          76.     The Meadows at Legacy Ranch is a residential development that is divided into

   approximately 35-acre tracts on which residents commonly keep horses. To maintain the

   development’s pleasant, residential character, covenants expressly prohibit most commercial

   uses of the land. Covenants also require that buildings be set back at least fifty feet from any lot

   boundary, prohibit the keeping of pigs and other odorous animals, and generally forbid “noxious,

   annoying or offensive activity.”

          77.     The 6480 Pickney Road marijuana grow is situated just outside the boundaries of

   the Meadows at Legacy Ranch, and if it were within those boundaries it would violate numerous

   covenants. The 6480 Pickney Road marijuana grow is a large commercial structure being built

   less than fifty feet from the Reillys’ property. Furthermore, growing recreational marijuana is

   “noxious, annoying or offensive activity” by virtually any definition because marijuana plants


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   are highly odorous, and their offensive smell travels long distances. The Meadows at Legacy

   Ranch adopted its covenants to protect property values and owners’ enjoyment of their land. The

   fact that the RICO Defendants are using the land west of the Reillys’ property to do things that

   the Reillys and their other neighbors have covenanted not to do shows that the RICO

   Defendants’ activities injure the Reillys’ property.

             78.   Terry Hart, one of the three members of the Pueblo County Commission, agreed

   that the 6480 Pickney Road marijuana grow would interfere with surrounding land uses and

   explained that he was voting against granting Alternative Holistic Healing a local license for that

   reason.

             79.   The RICO Defendants’ publicly disclosed drug conspiracy has also injured the

   value of the Reillys’ property. People buy lots at the Meadows at Legacy Ranch because they

   want to keep horses or build homes in a pleasant residential area, and the Reillys’ land is less

   suitable for those uses due to the 6480 Pickney Road marijuana grow. Furthermore, the large

   quantity of drugs at marijuana grows makes them targets for theft, and a prospective buyer of the

   Reillys’ land would reasonably worry that the 6480 Pickney Road marijuana grow will increase

   crime in the area. Prospective buyers would also worry that once it is complete the 6480 Pickney

   Road marijuana grow will emit pungent odors, thus further interfering with the use and

   enjoyment of the Reillys’ land. As a result, the 6480 Pickney Road marijuana grow has directly

   and proximately caused a decline in the market value of the Reillys’ land.

             80.   The RICO Defendants could not have located their marijuana grow operation at

   6480 Pickney Road if they had not received authorization from the State and Local Defendants

   to do so. Thus, the State and Local Defendants have also caused the Reillys to suffer injuries.


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                       The State Defendants’ Issuance of Marijuana Licenses
                                Injures Other Safe Street Members

          81.     In addition to the injuries suffered by the Reillys, other Safe Streets members

   have also been injured by the State and Local Defendants’ efforts to license and promote the

   commercial marijuana industry.

          82.     Safe Streets members live near the MED-licensed marijuana businesses located at

   2000 S. Dahlia Street, Denver, CO 80222. Among those businesses is a recreational marijuana-

   infused products manufacturer that has attracted an undesirable, criminal element into the

   neighborhood and caused traffic congestion. By causing those problems, MED’s decision to

   license the recreational marijuana infused products manufacturer has substantially damaged the

   value of surrounding properties.

                                        CLAIMS FOR RELIEF

                                            RICO COUNTS

                                             COUNT I
                                  Violation of 18 U.S.C. § 1962(c)
                 Against Alternative Holistic Healing, Joseph Licata, Jason Licata,
                                    6480 Pickney, and Walton

          83.     Plaintiffs incorporate by reference the allegations of the preceding paragraphs.

          84.     RICO creates a private right of action for “[a]ny person injured in his business or

   property by reason of a violation of [18 U.S.C. § 1962].” 18 U.S.C. § 1964(c). Under 18 U.S.C.

   § 1962(c), it is “unlawful for any person employed by or associated with any enterprise engaged

   in, or the activities of which affect, interstate or foreign commerce, to conduct or participate,

   directly or indirectly, in the conduct of such enterprise’s affairs through a pattern of racketeering




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   activity.” Alternative Holistic Healing, Joseph Licata, Jason Licata, 6480 Pickney, and Walton

   each violated this provision of 18 U.S.C. § 1962.

          85.     All of the RICO Defendants formed an association-in-fact enterprise within the

   meaning of 18 U.S.C. § 1961(4) by establishing contractual and other relationships with each

   other, collaborating to develop the 6480 Pickney Road property for recreational marijuana

   cultivation, and agreeing to sell that marijuana at Alternative Holistic Healing’s Black Hawk

   store. This enterprise enables the RICO Defendants to more efficiently achieve their collective

   purpose.

          86.     Funding, goods, and services procured by the enterprise have moved in interstate

   commerce and the enterprise plans to sell marijuana in interstate commerce.

          87.     Alternative Holistic Healing, Joseph Licata, Jason Licata, 6480 Pickney, and

   Walton each has some part in directing the enterprise’s affairs. Alternative Holistic Healing, by

   and through its owners Joseph Licata and Jason Licata, applied for licenses to operate the

   recreational marijuana grow at 6480 Pickney Road, and they collectively manage the Black

   Hawk shop where the resulting marijuana is to be sold. 6480 Pickney owns the property on

   which the marijuana is to be grown, and through Walton it makes decisions about the design of

   the building and the enterprise’s overall finances. At the Pueblo County Commission hearing

   that considered Alternative Holistic Healing’s application for a local license to grow recreational

   marijuana at 6480 Pickney, both Joseph Licata and Walton spoke on behalf of the enterprise.

          88.     Alternative Holistic Healing, Joseph Licata, Jason Licata, 6480 Pickney, and

   Walton have each conducted or participated in the conduct of the affairs of the enterprise through

   a pattern of racketeering activity. They collectively entered into a lease under which 6480


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   Pickney Road will be used to commit numerous crimes under the CSA, and that lease violates 21

   U.S.C. § 856. They also conspired, in violation of 21 U.S.C. § 846, to work together with the

   rest of the enterprise for the success of Alternative Holistic Healing’s open-ended illegal

   recreational marijuana business. On information and belief, they used communication facilities

   to enter into their lease and their drug conspiracy in violation of 21 U.S.C. § 843(b). Alternative

   Holistic Healing, Joseph Licata, and Jason Licata already possess materials, goods, and facilities

   for the manufacture of marijuana in violation of 21 U.S.C. § 843(a)(6). All of those crimes are

   racketeering activity under 18 U.S.C. § 1961(1)(D).

           89.     The racketeering activities of Alternative Holistic Healing, Joseph Licata, Jason

   Licata, 6480 Pickney, and Walton have directly and proximately injured the Reillys’ property by

   interfering with their use and enjoyment of that property and diminishing its market value.

                                               COUNT II
                                     Violation of 18 U.S.C. § 1962(d)
                                      Against All RICO Defendants

           90.     Plaintiffs incorporate by reference the allegations of the preceding paragraphs.

           91.     RICO creates a private right of action for “[a]ny person injured in his business or

   property by reason of a violation of [18 U.S.C. § 1962].” 18 U.S.C. § 1964(c). Under 18 U.S.C.

   § 1962(d), it is “unlawful for any person to conspire to violate any of the provisions of

   subsection (a), (b), or (c) of this section.”

           92.     The RICO Defendants, for their mutual and individual profit, agreed and

   conspired to violate 18 U.S.C. § 1962(c) by forming an association-in-fact enterprise for the

   purpose of cultivating recreational marijuana at 6480 Pickney Road and selling it at Alternative

   Holistic Healing’s store in Black Hawk. The RICO Defendants knew that this patently unlawful


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   scheme could only be accomplished through a pattern of racketeering activity, for maintaining a

   premises at which marijuana is cultivated and sold, cultivating and selling marijuana, and

   possessing the goods and materials needed to cultivate and process marijuana are all crimes

   under the CSA. See, e.g., 21 U.S.C. §§ 841(a), 843(a)(6), 856.

            93.   Funding, goods, and services procured by Defendants in furtherance of their

   association-in-fact enterprise for the purpose of cultivating and selling recreational marijuana

   have moved in interstate commerce, and the enterprise plans to sell marijuana grown at 6480

   Pickney Road in interstate commerce.

            94.   The RICO Defendants have engaged in racketeering activity in furtherance of

   their conspiracy to violate 18 U.S.C. § 1962(c). All of the RICO Defendants violated 21 U.S.C.

   § 846 by agreeing and conspiring to assist in the establishment of the 6480 Pickney Road

   marijuana grow or in the operations of Alternative Holistic Healing’s recreational marijuana

   business. And Alternative Holistic Healing, 6480 Pickney, LLC, and their agents entered into a

   real estate agreement to operate a recreational marijuana cultivation in violation of 21 U.S.C.

   § 856.

            95.   Racketeering activities undertaken in furtherance of the RICO Defendants’

   conspiracy to violate 18 U.S.C. § 1962(c) have injured the Reillys’ property. Specifically, the

   lease and construction at 6480 Pickney Road in violation of 21 U.S.C. § 856 and the drug

   conspiracy of which that construction is a part directly and proximately injured the Reillys’

   property by interfering with their use and enjoyment of their land and diminishing its market

   value.




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                                              COUNT III
                                    Violation of 18 U.S.C. § 1962(c)
                                 Against Joseph Licata and Jason Licata

           96.     Plaintiffs incorporate by reference the allegations of the preceding paragraphs.

           97.     RICO creates a private right of action for “[a]ny person injured in his business or

   property by reason of a violation of [18 U.S.C. § 1962].” 18 U.S.C. § 1964(c). Under 18 U.S.C.

   § 1962(c), it is “unlawful for any person employed by or associated with any enterprise engaged

   in, or the activities of which affect, interstate or foreign commerce, to conduct or participate,

   directly or indirectly, in the conduct of such enterprise’s affairs through a pattern of racketeering

   activity or collection of unlawful debt.”

           98.     An “enterprise” for purposes of RICO “includes any . . . partnership, corporation,

   association, or other legal entity.” 18 U.S.C. § 1961(4). Alternative Holistic Healing is a

   Colorado limited liability corporation. Thus, it is a RICO “enterprise.”

           99.     Joseph Licata and Jason Licata are equal owners and members of Alternative

   Holistic Healing and have authority to speak and sign documents on its behalf. They therefore

   have roles in directing its affairs.

           100.    Joseph Licata and Jason Licata have each conducted or participated in the conduct

   of the affairs of Alternative Holistic Healing through a pattern of racketeering activity. Together,

   they oversee the growing, processing, and sale of recreational marijuana at Alternative Holistic

   Healing’s Black Hawk store in violation of 21 U.S.C. § 841(a), 21 U.S.C. § 843(a)(6), and 21

   U.S.C. § 856. They entered into a lease under which marijuana is to be cultivated at 6480

   Pickney Road in violation of 21 U.S.C. § 856. They conspired with each other, 6480 Pickney,

   LLC, and Walton to violate numerous provisions of the CSA by growing recreational marijuana


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   and thus violated 21 U.S.C. § 846. They advertise marijuana for sale over the Internet in

   violation of 21 U.S.C. § 843(c)(2)(A). On information and belief, they have each violated 21

   U.S.C. § 843(b) by using the telephone, email, or other communication facilities to take steps in

   furtherance of the many violations of the CSA that occur at their Black Hawk store and the 6480

   Pickney Road recreational marijuana grow facility. Each of those crimes is racketeering activity

   under 18 U.S.C. § 1961(1)(D), and together they represent an ongoing pattern that will continue

   unless this Court intervenes.

          101.    Funding, goods, and services procured by Joseph Licata and Jason Licata for

   Alternative Holistic Healing’s unlawful activities have moved in interstate commerce, and

   Alternative Holistic Healing sells marijuana in the interstate market for illegal drugs.

          102.    The racketeering activities of Joseph Licata and Jason Licata directly and

   proximately injured the Reillys’ property by interfering with their use and enjoyment of their

   land and diminishing its market value.

                                          COUNT IV
                                Violation of 18 U.S.C. § 1962(d)
         Against Joseph Licata, Jason Licata, Blackhawk Development Corp., Guzman,
          Washington International Insurance, David Patch, and Patch Construction

          103.    Plaintiffs incorporate by reference the allegations of the preceding paragraphs.

          104.    RICO creates a private right of action for “[a]ny person injured in his business or

   property by reason of a violation of [18 U.S.C. § 1962].” 18 U.S.C. § 1964(c). Under 18 U.S.C.

   § 1962(d), it is “unlawful for any person to conspire to violate any of the provisions of

   subsection (a), (b), or (c) of this section.” Joseph Licata, Jason Licata, Blackhawk Development

   Corp., Guzman, Washington International Insurance, David Patch, and Patch Construction

   agreed and conspired to violate 18 U.S.C. § 1962(c).

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          105.    An “enterprise” for purposes of RICO “includes any . . . partnership, corporation,

   association, or other legal entity.” 18 U.S.C. § 1961(4). Alternative Holistic Healing is a

   Colorado limited liability corporation. It is a RICO “enterprise.”

          106.    Funding, goods, and services procured by Defendants in furtherance of

   Alternative Holistic Healing’s unlawful activities have moved in interstate commerce, and

   Alternative Holistic Healing sells marijuana in the interstate market for illegal drugs.

          107.    Joseph Licata, Jason Licata, Blackhawk Development Corp., Guzman,

   Washington International Insurance, David Patch, and Patch Construction are each associated

   with Alternative Holistic Healing and agreed to help Alternative Holistic Healing establish and

   operate a recreational marijuana grow facility at 6480 Pickney Road and a recreational marijuana

   store in Black Hawk.

          108.    Joseph Licata, Jason Licata, Blackhawk Development Corp., Guzman,

   Washington International Insurance, David Patch, and Patch Construction each understood that

   their collective efforts to establish and operate the recreational marijuana operations at 6480

   Pickney Road and in Black Hawk could only be accomplished through a pattern of racketeering

   activity. Specifically, all understood and agreed that Joseph Licata and Jason Licata would

   violate the CSA by cultivating recreational marijuana and selling it, 21 U.S.C. § 841(a),

   possessing the equipment and materials necessary for marijuana cultivation, id. § 843(a)(6), and

   maintaining the premises at 6480 Pickney Road and in Black Hawk for cultivating and selling

   recreational marijuana, id. §§ 849, 856. Each of those crimes is racketeering activity, and

   together they form an ongoing pattern.




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           109.    Racketeering activities undertaken in furtherance of the conspiracy among Joseph

   Licata, Jason Licata, Blackhawk Development Corp., Guzman, Washington International

   Insurance, David Patch, and Patch Construction to violate 18 U.S.C. § 1962(c) have injured the

   Reillys’ property. Specifically, the construction at 6480 Pickney Road in violation of 21 U.S.C.

   § 856 and the drug conspiracy of which that construction is a part directly and proximately

   injured the Reillys’ property by interfering with their use and enjoyment of their land and

   diminishing its market value.

                                              COUNT V
                                    Violation of 18 U.S.C. § 1962(c)
                                            Against Walton

           110.    Plaintiffs incorporate by reference the allegations of the preceding paragraphs.

           111.    RICO creates a private right of action for “[a]ny person injured in his business or

   property by reason of a violation of [18 U.S.C. § 1962].” 18 U.S.C. § 1964(c). Under 18 U.S.C.

   § 1962(c), it is “unlawful for any person employed by or associated with any enterprise engaged

   in, or the activities of which affect, interstate or foreign commerce, to conduct or participate,

   directly or indirectly, in the conduct of such enterprise’s affairs through a pattern of racketeering

   activity or collection of unlawful debt.”

           112.    An “enterprise” for purposes of RICO “includes any . . . partnership, corporation,

   association, or other legal entity.” 18 U.S.C. § 1961(4). 6480 Pickney, LLC, is a Colorado

   corporation. It is a RICO “enterprise.”

           113.    Walton is the owner and sole member of 6480 Pickney, LLC, and thus has a role

   in directing its affairs.




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            114.   6480 Pickney, LLC owns property where a building is being constructed that will

   grow recreational marijuana for sale into the interstate market for illegal drugs, and materials for

   the building have been acquired in interstate commerce.

            115.   Walton has conducted or participated in the conduct of the affairs of 6480

   Pickney, LLC through a pattern of racketeering activity. In violation of 21 U.S.C. § 856, he

   leased the 6480 Pickney Road property for use as a recreational marijuana cultivation facility.

   And in violation of 21 U.S.C. § 846, he agreed and conspired with Alternative Holistic Healing,

   Joseph Licata, and Jason Licata to assist them in their ongoing violations of the CSA. On

   information and belief, Walton has already acquired materials for the cultivation of marijuana in

   connection with the 6480 Pickney Road operations in violation of 21 U.S.C. § 843(a)(6). On

   information and belief, Walton has used the telephone, email, or other communication facilities

   in furtherance of his other violations of the CSA, thus violating 21 U.S.C. § 843(b). Those

   crimes are racketeering activity under 18 U.S.C. § 1961(1)(D) and together form a pattern.

            116.   The racketeering activities of Walton directly and proximately injured the Reillys’

   property by interfering with their use and enjoyment of their land and diminishing its market

   value.

                                              COUNT VI
                                    Violation of 18 U.S.C. § 1962(d)
                                    Against Walton and John Doe 1

            117.   Plaintiffs incorporate by reference the allegations of the preceding paragraphs.

            118.   RICO creates a private right of action for “[a]ny person injured in his business or

   property by reason of a violation of [18 U.S.C. § 1962].” 18 U.S.C. § 1964(c). Under 18 U.S.C.

   § 1962(d), it is “unlawful for any person to conspire to violate any of the provisions of


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   subsection (a), (b), or (c) of this section.” Walton and John Doe 1 agreed and conspired to

   violate 18 U.S.C. § 1962(c).

          119.    An “enterprise” for purposes of RICO “includes any . . . partnership, corporation,

   association, or other legal entity.” 18 U.S.C. § 1961(4). 6480 Pickney, LLC is a Colorado

   corporation. It is a RICO “enterprise.”

          120.    6480 Pickney, LLC owns property where a building is being constructed that will

   grow recreational marijuana for sale into the interstate market for illegal drugs, and materials for

   the building have been acquired in interstate commerce.

          121.    Walton and John Doe 1 have engaged in a pattern of racketeering activity in

   connection with 6480 Pickney, LLC. In violation of 21 U.S.C. § 856, Walton leased the 6480

   Pickney Road property for use as a recreational marijuana cultivation facility. And in violation

   of 21 U.S.C. § 846, Walton and John Doe 1 agreed and conspired with Alternative Holistic

   Healing, Joseph Licata, and Jason Licata to assist them in their ongoing violations of the CSA by

   developing the 6480 Pickney Road property for marijuana cultivation. On information and

   belief, Walton has already acquired materials for the cultivation of marijuana in connection with

   the 6480 Pickney Road operations in violation of 21 U.S.C. § 843(a)(6). On information and

   belief, both Walton and John Doe 1 have used the telephone, email, or other communication

   facilities in furtherance of their drug conspiracy, thus violating 21 U.S.C. § 843(b). Those

   crimes are racketeering activity under 18 U.S.C. § 1961(1)(D) and together form a pattern.

          122.    The racketeering activities of Walton and John Doe 1 directly and proximately

   injured the Reillys’ property by interfering with their use and enjoyment of their land and

   diminishing its market value.


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                                       PREEMPTION COUNTS

                                           COUNT VII
                          Federal Preemption of State Marijuana Licensing
                                     Against State Defendants

          123.    Plaintiffs incorporate by reference the allegations of the preceding paragraphs.

          124.    The Supremacy Clause makes the United States Constitution and constitutionally

   authorized federal statutes “the supreme law of the land . . . anything in the constitution or laws

   of any state to the contrary notwithstanding.” U.S. CONST. art. VI, cl. 2. Thus, where federal

   and state law conflict, state law is preempted and must yield.

          125.    Although the CSA does not occupy the field of marijuana regulation, it says that

   state law is preempted where “there is a positive conflict” between the CSA and state law “so

   that the two cannot consistently stand together.” 21 U.S.C. § 903.

          126.    The CSA imposes substantial criminal penalties on those who unlawfully

   cultivate and commercially distribute recreational marijuana. See id. § 841(b)(1). Those

   penalties reflect Congress’s determination that marijuana should be listed as a Schedule I drug

   because it has a high potential for abuse. See id. § 812(b)(1), (c). The CSA thus embodies a

   strong federal policy that seeks to eliminate the commercial cultivation and distribution of

   recreational marijuana through a complete criminal prohibition on those activities.

          127.    Despite the federal criminal ban on the commercial cultivation and distribution of

   recreational marijuana, MED raises revenue for the State of Colorado by issuing licenses that

   purport to authorize, regulate, and tax federal drug crimes involving marijuana.

          128.    MED’s licenses also affirmatively assist and promote the commercial cultivation

   and distribution of recreational marijuana by functioning as a state endorsement of licensed


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   businesses and employees. This endorsement assists potential recreational marijuana investors

   and customers by assuring them that licensees have been investigated and approved by the State.

          129.    Thus, MED’s issuance of recreational marijuana licenses directly conflicts with

   the CSA and poses an obstacle to the achievement of the CSA’s purposes. “[T]here is a positive

   conflict” between the CSA and MED’s practice of issuing marijuana licenses and “the two

   cannot consistently stand together.” 21 U.S.C. § 903. It follows that MED’s licensing regime is

   preempted by federal law and cannot stand.

                                          COUNT VIII
                         Federal Preemption of Local Marijuana Licensing
                                    Against Pueblo Defendants

          130.    Plaintiffs incorporate by reference the allegations of the preceding paragraphs.

          131.    The Supremacy Clause makes the United States Constitution and federal statutes

   “the supreme law of the land . . . anything in the constitution or laws of any state to the contrary

   notwithstanding.” U.S. CONST. art. VI, cl. 2. Thus, where federal and local law conflict, local

   law is preempted and must yield.

          132.    Although the CSA does not occupy the field of marijuana regulation, it says that

   local law is preempted where “there is a positive conflict” between the CSA and local law “so

   that the two cannot consistently stand together.” 21 U.S.C. § 903.

          133.    The CSA imposes substantial criminal penalties on those who unlawfully

   cultivate and commercially distribute recreational marijuana. See id. § 841(b)(1). Those

   penalties reflect Congress’s determination that marijuana should be listed as a Schedule I drug

   because it has a high potential for abuse. See id. § 812(b)(1), (c). The CSA thus embodies a




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   strong federal policy that seeks to reduce the cultivation and distribution of recreational

   marijuana through a complete prohibition on those activities.

          134.    Despite the federal ban on the commercial cultivation and distribution of

   recreational marijuana, the Pueblo Defendants issue licenses that authorize those federal crimes.

   The Pueblo Defendants’ licenses also affirmatively assist and promote the cultivation and

   distribution of recreational marijuana by functioning as an official endorsement of licensed

   recreational marijuana businesses and employees. This endorsement assists potential

   recreational marijuana investors and customers by assuring them that licensees have been

   investigated and approved by the Pueblo Defendants.

          135.    Thus, the Pueblo Defendants’ issuance of marijuana licenses directly conflicts

   with the CSA and poses an obstacle to the achievement of the CSA’s purposes. For this reason,

   “there is a positive conflict” between the CSA and the Pueblo Defendants’ practice of issuing

   marijuana licenses and “the two cannot consistently stand together.” 21 U.S.C. § 903. The

   Pueblo Defendants’ licensing regime is thus preempted by federal law and cannot stand.

                                        PRAYER FOR RELIEF

      136.        WHEREFORE, Plaintiffs pray for an order and judgment:

                      a. Awarding the Reillys three times the damages to their property that was

              caused by the RICO Defendants’ racketeering activities.

                      b. Enjoining the RICO Defendants from continuing to engage in racketeering

              activities.

                      c. Declaring that the State Defendants’ issuance of marijuana business and

              occupational licenses is preempted by federal law.


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                   d. Vacating and setting aside the marijuana business and occupational

           licenses issued by the State Defendants.

                   e. Enjoining the State Defendants from issuing additional marijuana business

           and occupational licenses.

                   f. Declaring that those portions of the Colorado Constitution and the Retail

           Marijuana Code that purport to authorize or facilitate violations of the federal drug

           laws are preempted by federal law.

                   g. Declaring that the Pueblo Defendants’ issuance of marijuana business

           licenses is preempted by federal law.

                   h. Vacating and setting aside the marijuana business licenses issued by the

           Pueblo Defendants.

                   i. Enjoining the Pueblo Defendants from issuing additional marijuana

           business licenses.

                   j. Declaring that those portions of the Pueblo County Code that purport to

           authorize or facilitate violations of the federal drug laws are preempted by federal

           law.

                   k. Awarding Plaintiffs their reasonable costs, including attorneys’ fees

           incurred in bringing this litigation.

                   l. Granting such other and further relief as this Court deems just and proper.




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   Date: February 19, 2015                  Respectfully submitted,

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